Case 2:20-cv-00602-MV-GJF Document 34-1 Filed 07/02/21 Page 1of3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

 

NAVAJO NATION,

Plaintiff,

Vv. No. 2:20-cv-602-MV-GJF

MICHAEL REGAN, et al.,

Defendants.

tl eed

DECLARATION OF RONNIE BEN
I, Ronnie Ben, declare as follows:

1. My name is Ronnie Ben. I am over 21 years of age and am fully competent and
duly authorized to make this declaration.

2. I submit this declaration in support of the Navajo Nation’s Partial Opposition to
“Defendants’ Opposed Motion for Voluntary Remand of the NWPR Without Vacatur.” The
following statements are true and correct to the best of my knowledge, information, and belief
and are based on my personal knowledge, information contained in the records of the Navajo
Nation Environmental Protection Agency Surface and Ground Water Protection Department, and
information supplied to me by employees within the Navajo Nation Environmental Protection
Agency Surface and Ground Water Protection Department.

3. I am the Department Manager for the Navajo Nation Environmental Protection
Agency (NNEPA), Surface and Ground Water Protection Department. I have been in that

position since 2010. In that position, I oversee the work of the Water Quality/NPDES Program,
Case 2:20-cv-00602-MV-GJF Document 34-1 Filed 07/02/21 Page 2 of 3

the Public Water Systems Supervision Program (including the Aquifer Protection and Domestic
Wastewater Programs), and the Underground Injection Control Program.

4. My responsibilities include managing and administering the Department as a
whole; supervising its three Programs; overseeing and assisting with Department planning,
development, operations, and budget; and coordinating the Department’s goals and objectives
with those of the Navajo Nation Office of the President and Vice President.

5. I previously worked for five years as a senior environmental specialist in the
NNEPA Water Quality/NPDES Program.

6. Attached as Exhibit 1 is a true and correct copy of a June 9, 2021, email the
Navajo Nation and other Tribal Partners received from Karen Gude, Tribal Program Coordinator,
Office of Water, U.S. Environmental Protection Agency (EPA), titled “EPA, Army Announce
Intent to Revise Definition of WOTUS.”

7. Since the Navigable Waters Protection Rule (NWPR) took effect on June 22,
2020, I am aware of two projects that proposed to discharge into ephemeral waters on the Navajo
Nation. Those projects previously would have required a Clean Water Act (CWA) § 404 dredge
and fill permit from the U.S. Army Corps of Engineers (Corps) and a CWA § 401 certification
from the NNEPA. However, based on the NWPR, the Corps determined that the discharges from
these projects would be into non-jurisdictional waters and therefore no CWA permit or
certification was required.

8. NNEPA has reviewed information from a U.S. EPA website database at
https://watersgeo.epa.gov/cwa/cwa-JDS/ titled “Clean Water Act Approved Jurisdictional

Determinations,” which presents data on approved jurisdictional determinations (JDs) made by
Case 2:20-cv-00602-MV-GJF Document 34-1 Filed 07/02/21 Page 3 of 3

the Corps and EPA under the CWA since August 28, 2015. That database shows that between
August 2015 and June 2020 for waters within counties containing or adjacent to Navajo Nation
land—Apache, Coconino, and Navajo Counties in Arizona, Bernalillo, Cibola, McKinley,
Sandoval, San Juan, and Valencia Counties in New Mexico, and San Juan County, Utah—the
Corps determined 22 out of 73 waters within those counties were jurisdictional waters of the
United States (WOTUS), based on the 1980s WOTUS regulations and the significant nexus
standard. However, since June 22, 2020, that database shows that the Corps determined 0 out of
134 waters within those counties were WOTUS, based on the NWPR. The majority of the waters
at issue were excluded as ephemeral waters. Attached as Exhibit 2 is a PDF copy of the database
information filtered to reflect the JDs that took place for waters in these counties.

9. Because these waters have been found non-jurisdictional by the Corps under the
NWPR, no federal CWA permits will be issued for discharges into those waters. For the Navajo
Nation waters, that means the NNEPA has lost its opportunity under the CWA § 401(a)(1)
certification program to ensure those discharges will not violate the Navajo Nation’s water
quality requirements. For the neighboring waters, the Navajo Nation does not have the
opportunity to review and comment under CWA § 401(a)(2) on possible adverse impacts from
those discharges on Navajo Nation waters.

I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge, information, and belief.

o~
Executed on \ jul O| , 2021

x

Yer hf

Ronnie Ben
Department Manager, Surface and Ground Water Protection Department

Navajo Nation Environmental Protection Agency
